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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

JONATHAN MICHAEL SPINNEY,                 )
                                          )
             Plaintiff                    )
                                          )
      v.                                  )      1:17-cv-00061-NT
                                          )
CHAZ LEE GRAY, et al.,                    )
                                          )
             Defendants                   )

   RECOMMENDED DECISION ON DEFENDANTS’ MOTION TO DISMISS

      In this action, Plaintiff Jonathan Spinney alleges that Defendants violated his federal

rights while Plaintiff was incarcerated in the Penobscot County Jail. The matter is before

the Court on Defendant Gray’s Motion to Dismiss for Failure to Comply with the Court’s

Discovery Order. (ECF No. 22.) Defendants Boulier, Clukey, Golden, Morton, and

Sheehan joined Defendant Gray in moving for dismissal. (ECF No. 23.)

      Following a review of the docket and after consideration of Defendants’ arguments,

I recommend the Court grant the motion.

                                      Background

      Plaintiff filed his complaint on February 15, 2017. On March 17, 2017, Plaintiff

notified the Court that he had been released from custody and provided a new address in

Milford, Maine. (ECF No. 7.) On May 19, 2017, the Court issued a scheduling order,

which established a discovery deadline of October 6, 2017. (ECF No. 12.)
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       The record reflects that Defendant Gray served Plaintiff with interrogatories and a

request for production of documents on June 7, 2017. Because Defendant Gray did not

receive responses to the discovery requests, Defendant requested a conference with the

Court in accordance with Local Rule 26(b). The Court scheduled a telephonic conference

for September 5, 2017, with notice to the parties. Defendants appeared telephonically for

the conference; Plaintiff did not appear. Based on Plaintiff’s failure to participate in the

conference, the Court authorized Defendants to file a motion to compel discovery and for

sanctions.

       On September 6, 2017, Defendant Gray filed a motion to compel discovery and for

sanctions. On September 11, 2017, Defendants Boulier, Clukey, Golden, Morton, and

Sheehan joined in Defendant Gray’s motion, and explained that Defendant Gray initiated

the discovery after conferring with their counsel. (ECF No. 16.) Defendants asserted that

Plaintiff has not communicated with them about the outstanding discovery. Plaintiff did

not file a response to the motion to compel.

       Upon consideration of the motion to compel, the Court granted the motion and

ordered Plaintiff to serve upon Defendants complete responses to their discovery requests,

on or before December 1, 2017. (Order on Motion to Compel and for Sanctions, ECF No.

20.) The Court also notified Plaintiff that his failure to do so could result in the dismissal

of his complaint. (Id.)

       Defendant Gray filed the motion to dismiss on January 3, 2018. (ECF No. 22.)

Defendants Boulier, Clukey, Golden, Morton, and Sheehan joined in Defendant Gray’s

motion on January 8, 2018. (ECF No. 23.) Through their motions, Defendants represent

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that Plaintiff has failed to provide Defendants with a response to their discovery requests

and thus has failed to comply with the Court’s Order on Motion to Compel and for

Sanctions. Plaintiff did not file a response to the motion to dismiss.

                                          Discussion

       Pursuant to Federal Rule of Civil Procedure 37(b)(2)(A)(v), a court is authorized to

dismiss an action as a sanction for a party’s failure to obey an order to provide or permit

discovery. Dismissal as a sanction should be used cautiously. “Prior to choosing the harsh

sanction of dismissal, a district court should consider the broad panoply of lesser sanctions

available to it, such as contempt, fines, conditional orders of dismissal, etc. The severe

sanction of dismissal serves as a powerful means of deterring others from frustrating the

district court’s well justified efforts at docket management, but it is not the only such

deterrent.” Crossman v. Raytheon Long Term Disability Plan, 316 F.3d 36, 39 – 40 (1st

Cir. 2002) (internal quotation marks and citations omitted). When assessing whether

dismissal is warranted, a court must consider “the gravity of the violation and balance it

with the need for order in the trial court, the prejudice to the other party, and the preference

for disposing of a case on the merits.” Id. (citing Young v. Gordon, 330 F.3d 76, 81 (1st

Cir. 2003)).

       In addition “[i]n order to operate effectively and administer justice properly, courts

must have the leeway ‘to establish orderly processes and manage their own affairs.’”

Vazquez-Rijos v. Anhang, 654 F.3d 122, 127 (1st Cir. 2011) (quoting Young v. Gordon, 330

F.3d 76, 81 (1st Cir. 2003)). “A district court’s inherent powers to sanction parties for

litigation abuses include the power to act sua sponte to dismiss a suit for failure

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to prosecute.” Diaz-Santos v. Dep’t of Educ. of Commonwealth of P.R., 108 F. App’x 638,

640 (1st Cir. 2004). When considering an appropriate sanction for the failure to prosecute,

a court “should consider the totality of events and then choose from the broad universe of

available sanctions in an effort to fit the punishment to the severity and circumstances of

the violation.” Young, 330 F.3d at 81.

       In this case, given Plaintiff’s failure to communicate with Defendants and the Court,

a sanction other than dismissal, such as a monetary fine or the preclusion of particular

claims or evidence, would not assist in the orderly progression of the case on the docket.

Insofar as Plaintiff failed to respond to Defendants’ discovery requests, failed to participate

in a scheduled telephonic hearing to address the lack of response to the discovery requests,

and failed to comply with the Court’s order directing Plaintiff to respond to the discovery

requests, Plaintiff has repeatedly demonstrated a lack of regard for the Court process and

his obligations as a litigant. Plaintiff’s complete failure to engage in the process warrants

dismissal with prejudice.

                                         Conclusion

       Based on the foregoing analysis, I recommend that the Court grant the Motion to

Dismiss (ECF No. 22), and dismiss the action with prejudice.

                                          NOTICE

       A party may file objections to those specified portions of a magistrate judge’s
    report or proposed findings or recommended decisions entered pursuant to 28
    U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
    together with a supporting memorandum, within fourteen (14) days of being
    served with a copy thereof. A responsive memorandum shall be filed within
    fourteen (14) days after the filing of the objection.

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       Failure to file a timely objection shall constitute a waiver of the right to de novo
    review by the district court and to appeal the district court’s order.

                                           /s/ John C. Nivison
                                           U.S. Magistrate Judge
Dated this 31st day of January, 2018.




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